             Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 1 of 82




                                     Exhibit A

                                   Proposed Order




DOCS_LA:348525.2 05233/004
             Case 20-10553-CTG            Doc 1588-1        Filed 08/22/23       Page 2 of 82



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 7

START MAN FURNITURE, LLC, et al.,1                               Case No. 20-10553 (CTG)

                              Debtors.                           (Jointly Administered)

ALFRED T. GIULIANO, in his capacity as Chapter 7                 Adv. Proc. No. 22-50159 (CTG)
Trustee of Start Man Furniture, LLC, et al.,

                             Plaintiff,
v.

FRANKLIN CORP.; FIRST-CITIZENS BANK &
TRUST COMPANY d/b/a THE CIT GROUP,

                             Defendants.

ALAN J. SUSSMAN & ASSOCIATES, INC.,                              Adv. Proc. No. 22-50172 (CTG)
                 Defendant.
CAMPBELL SALES GROUP, INC. dba LEATHER                           Adv. Proc. No. 22-50174 (CTG)
ITALIA USA,

                  Defendant.
DETROIT PISTONS BASKETBALL COMPANY,                              Adv. Proc. No. 22-50189 (CTG)
                   Defendant.
KITH FURNITURE, LLC,                                             Adv. Proc. No. 22-50197 (CTG)
                 Defendant.
MICHAEL NICHOLAS DESIGNS, INC.,                                  Adv. Proc. No. 22-50200 (CTG)
                             Defendant.
PAXTON SALES, INC.,                                              Adv. Proc. No. 22-50216 (CTG)


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF
Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF
Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a
AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of
Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising,
LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress
LLC (4463).



DOCS_LA:348525.2 05233/004
                Case 20-10553-CTG             Doc 1588-1         Filed 08/22/23        Page 3 of 82



                                 Defendant.


         ORDER GRANTING NINTH OMNIBUS MOTION OF ALFRED T. GIULIANO,
           CHAPTER 7 TRUSTEE, TO APPROVE SETTLEMENT AGREEMENTS

                    Upon consideration of the Ninth Omnibus Motion of Alfred T. Giuliano,

Chapter 7 Trustee, to Approve Settlement Agreements (the “Motion”)2 of Alfred T. Giuliano,

chapter 7 trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”),

for entry of an order (this “Order”), pursuant to sections 105(a) and 363(b) of the Bankruptcy

Code and Bankruptcy Rule 9019, to approve the settlement agreements (the “Settlement

Agreements”) between the Trustee and (a) FRANKLIN CORP.; FIRST-CITIZENS BANK &

TRUST COMPANY d/b/a THE CIT GROUP (“FRANKLIN”) [Adv. Proc. No. 22-50159]; (b)

ALAN J. SUSSMAN & ASSOCIATES, INC., (“SUSSMAN”) [Adv. Proc. No. 22-50172]; (c)

CAMPBELL SALES GROUP, INC. dba LEATHER ITALIA USA (“CAMPBELL”) [Adv.

Proc. No. 22-50174]; (d) DETROIT PISTONS BASKETBALL COMPANY (“PISTONS”)

[Adv. Proc. No. 22-50189]; (e) KITH FURNITURE, LLC (“KITH”) [Adv. Proc. No. 22-50197];

(f) NICHOLAS DESIGNS, INC. (“MND”) [Adv. Proc. No. 22-502]; and (g) PAXTON SALES,

INC. (“PAXTON”) [Adv. Proc. No. 22-50216] (the above collectively referred to herein as the

“Defendants”); copies of Settlement Agreements are attached hereto as Exhibits 1 through 7; the

Court having reviewed the Motion and the Settlement Agreements and having considered the

record with respect to the Motion; the Court having found that (a) the district court has

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012, and that this Court may enter a final order

consistent with Article III of the United States Constitution, (b) this is a core proceeding pursuant


2   Capitalized terms not otherwise defined herein shall have the meaning given to them in the Motion.
                                                            2
DOCS_LA:348525.2 05233/004
             Case 20-10553-CTG              Doc 1588-1      Filed 08/22/23     Page 4 of 82



to 28 U.S.C. § 157(b), (c) notice of the Motion was sufficient under the circumstances and in full

compliance with Bankruptcy Rule 2002 and the local rules of this Court, (d) the Settlement

Agreements (i) are the product of good faith, arms’ length negotiations among the Parties,

without collusion, (ii) are fair, reasonable, appropriate and in the best interests of the Debtors’

estates and (iii) represent a sound exercise of the Trustee’s business judgment and (e) each of the

Parties to the Settlement Agreements provided sufficient consideration for the transactions

contemplated by the Settlement Agreements; and the Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; IT IS

HEREBY ORDERED THAT:

                 1.          The Motion is granted as set forth herein.

                 2.          The terms of the Settlement Agreements attached hereto as Exhibits 1

through 7 are APPROVED in their entirety pursuant to sections 105(a) and 363(b) of the

Bankruptcy Code and Bankruptcy Rule 9019.

                 3.          The Parties are hereby authorized to take such additional actions or execute

such additional documents as are necessary or appropriate to implement the terms of the

Settlement Agreements.

                 4.          Notwithstanding the possible applicability of Rules 6004, 7062, or 9014 of

the Bankruptcy Rules, any other Bankruptcy Rule, this Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of effectiveness or execution of this Order.

                 5.          The Court shall retain exclusive jurisdiction over any and all matters arising

from or related to the implementation, interpretation, or enforcement of the Settlement Agreements

or this Order.




                                                        3
DOCS_LA:348525.2 05233/004
             Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 5 of 82




                                    EXHIBIT 1

                                    FRANKLIN




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 6 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 7 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 8 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 9 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 10 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 11 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 12 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 13 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 14 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 15 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 16 of 82




                                    EXHIBIT 2

                                    SUSSMAN




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 17 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 18 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 19 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 20 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 21 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 22 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 23 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 24 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 25 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 26 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 27 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 28 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 29 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 30 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 31 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 32 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 33 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 34 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 35 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 36 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 37 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 38 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 39 of 82




                                    EXHIBIT 3

                                   CAMPBELL




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 40 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 41 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 42 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 43 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 44 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 45 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 46 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 47 of 82




                                    EXHIBIT 4

                                     PISTONS




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 48 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 49 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 50 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 51 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 52 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 53 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 54 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 55 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 56 of 82




                                    EXHIBIT 5

                                      KITH




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 57 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 58 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 59 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 60 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 61 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 62 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 63 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 64 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 65 of 82




                                    EXHIBIT 6

                                      MND




DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 66 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 67 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 68 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 69 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 70 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 71 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 72 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 73 of 82
            Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 74 of 82




                                    EXHIBIT 7

                                     PAXTON




                                        2
DOCS_LA:348525.2 05233/004
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 75 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 76 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 77 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 78 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 79 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 80 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 81 of 82
Case 20-10553-CTG   Doc 1588-1   Filed 08/22/23   Page 82 of 82
